                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

  IN RE: REALPAGE, INC., RENTAL               )      NO. 3:23-cv-03071
  SOFTWARE ANTITRUST                          )      MDL No. 3071
  LITIGATION (NO. II)                         )
                                              )        THIS DOCUMENT RELATES TO:
                                              )
                                              )                    ALL CASES

                                  JOINT STATUS REPORT

 I.     Settlement

        A.     Updated Status as of March 29, 2024

        Plaintiffs have reached settlement agreements in principle with Defendants Apartment

 Income REIT, Corp., d/b/a AIR Communities (“AIR”); Avenue5 Residential, LLC; and Pinnacle

 Property Management Services, LLC (“Pinnacle”). Plaintiffs are working with AIR and Pinnacle

 to document their in-principle settlement agreements, and subsequently file with the Court

 preliminary approval papers.

        Scheduled and prior mediation sessions are as follows:

  Scheduled for April   Bell Partners, Inc. (“Bell”), BH Management Services, LLC (“BH”),
  8, 2024 Mediation     Camden Property Trust (“Camden”), ConAm Management Corporation
  in Washington,        (“ConAm”), Equity Residential (“Equity”), Greystar Management
  D.C. with Layn        Services, LLC, (“Greystar”), Highmark Residential (“Highmark”), LLC,
  Philips               Independence Realty Trust, Inc. (“IRT”); Lincoln Property Co.
                        (“Lincoln”), Morgan Properties Management Company, LLC (“Morgan
                        Properties”), RealPage, Inc., RPM Living, LLC (“RPM”), Security
                        Properties Residential, LLC (“Security Properties”), Sherman Associates,
                        Inc. (“Sherman”), The Related Companies, L.P. and Related Management
                        Company, L.P. (“Related”), Thoma Bravo, L.P., Thoma Bravo Fund XIII,
                        L.P., Thoma Bravo Fund XIV, L.P. (“the Thoma Bravo Defendants”),
                        Thrive Communities Management, LLC (“Thrive”), UDR, Inc. (“UDR”),
                        Windsor Property Management Company (“Windsor”), WinnCompanies
                        LLC and WinnResidential Manager Corp. (“Winn”).
  Participated in       Defendants Apartment Management Consultants, LLC (“AMC”);
  March 15, 2024        Bozzuto Management Company (“Bozzuto”); First Communities
  Mediation with        Management, Inc. (“FCM”); FPI Management, Inc. (“FPI”); Mission



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     Layn Phillips and     Rock Residential, LLC; Rose Associates Inc. (“Rose”); Sares Regis Group
     Clay Cogman (10       Commercial, Inc. (“Saris Regis”); and ZRS Management, LLC (“ZRS”).
     hours)
     Participated in       Plaintiffs and Defendants AIR; Allied Orion; Brookfield Properties
     October 24, 2023      Multifamily LLC (“Brookfield”); CH Real Estate Services, LLC; ConAm;
     Mediation with        CONTI Texas Organization, Inc., d/b/a CONTI Capital (“CONTI”);
     Layn Phillips and     Cortland Management, LLC (“Cortland”); CWS Apartment Homes LLC
     Clay Cogman (6        (“CWS”); Dayrise Residential, LLC (“Dayrise”); ECI Management, LLC
     hours)                (“ECI”); Essex Property Trust, Inc. (“Essex”); FCM; Independence Realty
                           Trust, Inc. (“IRT”); Kairoi Management, LLC (“Kairoi”); Knightvest
                           Residential (“Knighvest”); Lantower Luxury Living, LLC (“Lantower”);
                           Mid-America Apartment Communities, Inc. and Mid-America
                           Apartments, L.P. (“MAA”); Mission Rock; Morgan Properties;
                           Prometheus Real Estate Group, Inc.; Related; Rose; Simpson Property
                           Group, LLC; Sares Regis Group Commercial, Inc.; Sherman; Trammell
                           Crow Residential Company and Crow Holdings, LP; Windsor Property
                           Management Company; Winn. 1

           Plaintiffs and Defendants who participated in these mediations have continued discussions

 through the mediators and bilaterally.

           As to the remaining Defendant, Knightvest, the parties are now engaged in case resolution

 discussions.

           The parties do not currently view any legal issues as an impediment to settlement. Plaintiffs

 believe that fulsome discovery, however, will be needed to contribute to more robust and

 meaningful settlement discussions going forward.

           B.     May 10, 2024 Report:

                  a. Pursuant to the Court’s order (Dkt. 898), the parties will no longer provide

                      settlement updates in joint status reports.




 1
   This mediation was also attended by Defendants Campus Advantage, Inc.; Cardinal Group
 Holdings LLC; CA Ventures Global Services, LLC; and Timberline Real Estate Ventures LLC,
 all of which have since been dismissed from the case.



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 II.    Discovery

        A.      Below is the status of each of the following, including the date the described
                discovery was served, the deadline for response, and any known or anticipated
                discovery issues (e.g. preservation of evidence, privilege issues, or confidentiality
                issues). Fact discovery must be completed by November 21, 2025. (Dkt. 818 at
                2.)

                1.     Requests for Documents

                       (a)     March 29, 2024 Report:

                               (i)       Plaintiffs

        Plaintiffs served their First Set of Requests for Production and Second Set of Requests for

Production on February 16, 2024. On March 18 and 19, 2024, most Defendants 2 served their

responses and objections to those requests. Plaintiffs are in the process of conferring with each

Defendant about those responses and objections. The parties began meeting and conferring with

Defendants regarding proposed document custodians on March 9, 2024, and those discussions are

ongoing. 3

                               (ii)      Defendants

        Defendants served their First Set of Requests for Production on March 4, 2024. Plaintiffs’

 deadline to respond is April 3, 2024.




 2
   Defendants Rose, Sares Regis and the Thoma Bravo Defendants negotiated extensions to their
 deadlines to serve their responses and objections. The Thoma Bravo Defendants will serve their
 responses and objections on the agreed-upon deadline of March 29, 2024. Sares Regis will serve
 their responses and objections within 5 days, and Rose within 10 days, after transfer back to this
 Court. Consistent with their previous submissions in the Kabisch matter, CONTI and Prometheus
 did not serve their responses and objections by this date. See Dkt #776 at 1 n.1. CONTI did not
 serve responses and objections as to Vincin. Meet and confers with CONTI and Prometheus are
 ongoing. AMC was served with Plaintiffs’ First and Second Sets of Requests for Production on
 March 22, 2024, to which responses are due April 22, 2024.
 3
   Defendants CONTI, Prometheus, and Rose have not yet met and conferred with Plaintiffs
 regarding custodians during the pendency of their transfer back into this MDL.



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                            (b)      May 10, 2024 Report:

                                     (i)       Plaintiffs

          The parties are continuing to meet and confer regarding Defendants’ responses and

objections to Plaintiffs’ First Set of Requests for Production and Second Set of Requests for

Production. 4 Plaintiffs anticipate that global issues relating to the time frame and geographic scope

of production, as well as some Defendants’ position regarding production of documents produced

to government regulators, may become ripe before the next monthly status report. The parties are

continuing to meet and confer regarding Defendants’ proposed document custodians and those

discussions are ongoing.

          For three of the Defendants whose claims were severed sua sponte from the Kabisch v.

RealPage, Inc., 3:23-cv-00742, action and transferred to other venues and then back to the Court

pursuant to CTO-6 (Dkt. 879) on April 5, 2024— Prometheus, Sares Regis, and Rose—the parties

have agreed to preliminary schedules related to Plaintiffs’ document requests (Dkt. 883 at 3-5).


                                     (ii)      Defendants

          On April 3, 2024, Plaintiffs served their responses and objections to Defendants’ First Set

 of Requests for Production. Defendants continue to review Plaintiffs’ responses and objections

 and will meet and confer regarding the adequacy of those responses and objections.


                            (c)      June 7, 2024 Report:

                                     (i)       Plaintiffs




 4
   AMC served its responses and objections to Plaintiffs’ First Set of Requests for Production and Second Set of
 Requests for Production on April 22, 2024. CONTI filed a Rule 12(b)(1) motion to dismiss in Vincin, which the Court
 dismissed without prejudice and entered an agreed scheduling order relating to CONTI’s Rule 12(b)(1) motions to
 dismiss filings in Vincin and Kabisch, which set filing deadlines and allows Plaintiffs to take jurisdictional discovery
 relating to the motions to dismiss, as needed. (Dkt. #315).




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            The parties are continuing to meet and confer regarding Defendants’ responses and

 objections to Plaintiffs’ First Set of Requests for Production and Second Set of Requests for

 Production. Specifically, the parties continue to meet and confer with respect to the global issues

 raised in the last status report relating to the time frame and geographic scope of production, as

 well as (where applicable) some Defendants’ position regarding full and not partial reproduction

 of documents produced to government regulators. To the extent that Plaintiffs cannot reach

 agreement with one or more Defendants on these issues, Plaintiffs anticipate seeking a discovery

 conference. 5


                                     (ii)    Defendants

            Defendants continue to review Plaintiffs’ responses and objections to Defendants’ First Set

 of Requests for Production and are meeting and conferring with Plaintiffs regarding the adequacy

 of those responses and objections.


                            (d)      July 3, 2024 Report:

                                     (i)     Plaintiffs

            The parties continue to meet and confer regarding Defendants’ responses and objections to

 Plaintiffs’ First Set of Requests for Production and Second Set of Requests for Production.

 Specifically, the parties continue to meet and confer with respect to the global issues raised in the

 last status report relating to the time frame and geographic scope of production, as well as (where

 applicable) some Defendants’ position regarding full and not partial reproduction of documents

 produced to government regulators. To the extent that Plaintiffs cannot reach agreement with one

 or more Defendants on these issues, then Plaintiffs anticipate seeking a discovery conference.



 5
     As to Defendant CONTI, the case management deadlines as to CONTI have been stayed per Dkt. 914.




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        Additionally, Plaintiffs are meeting and conferring with RealPage about the conditions

 under which RealPage will produce usable source code for their RMS. If Plaintiffs cannot reach

 agreement with RealPage on the issue, then Plaintiffs anticipate seeking a discovery conference.


                               (ii)    Defendants

        Defendants are continuing to meet and confer with Plaintiffs regarding Plaintiffs’ responses

 and objections to Defendants’ First Set of Requests for Production.


                       (e)     August 2, 2024 Report:

                               (i)     Plaintiffs

        The parties continue to meet and confer regarding Defendants’ responses and objections to

 Plaintiffs’ First and Second Sets of Requests for Production. The parties have held several

 successful in-person meet and confers that have resulted in agreements (including on time period,

 geographic scope of production, and government productions) without the need to raise discovery

 disputes with the Court. Some disputes remain ongoing. A handful of in-person meet and confers

 are scheduled or likely to be scheduled in the next few weeks regarding time period, geographic

 scope of production, government productions, and custodians. With respect to government

 productions, all but one of the applicable Defendants have agreed to reproduce those productions.

 The scope of government productions and their adequacy in covering Plaintiffs’ Requests for

 Production in whole or in part (including temporal scope and custodians) are still being negotiated

 with five other Defendants. With respect to time frame for document production, Plaintiffs have

 sought production through March 2024, and some Defendants have only agreed to produce

 documents through the date of the first complaint in which they were named. Finally, Plaintiffs

 still continue to meet and confer with some Defendants concerning the geographic scope of their

 document production, including two Defendants who have not agreed to produce documents on a



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 nationwide basis. Plaintiffs anticipate that one or more of these issues will become ripe for

 resolution with one or more Defendants before the September status conference.

        Plaintiffs have also begun search methodology discussions with all Defendants. Plaintiffs

 are discussing the potential use of TAR with two Defendants, and those parties have exchanged

 draft protocols, which will ultimately be submitted to the Court for the Court’s review before

 implementation. Plaintiffs are discussing potential search terms with other Defendants. Some

 Defendants have refused to provide search term hit reports to allow Plaintiffs to evaluate any claim

 of burden, and Plaintiffs anticipate that they may seek a discovery conference to move to compel

 such information before the September status conference.

        Additionally, following receipt of RealPage’s proposed Addendum to the Protective Order,

 which details the conditions under which RealPage will agree to produce any source code(s) for

 its RMS and associated databases, Plaintiffs participated in an in-person meet and confer with

 RealPage on July 11 concerning the same. The parties have yet to reach agreement with respect

 to the proper format and location where RealPage’s source code(s) will be made available to

 Plaintiffs, and anticipate seeking a discovery conference if an agreement cannot be reached in the

 near term.


                                 (ii)   Defendants

        Defendants are continuing to meet and confer with Plaintiffs regarding Plaintiffs’ responses

 and objections to Defendants’ First Set of Requests for Production.


                        (f)      September 6, 2024 Report:

                                 (i)    Plaintiffs

        The parties continue to meet and confer regarding Defendants’ responses and objections to

 Plaintiffs’ First Set of Requests for Production and Second Set of Requests for Production. The



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 parties have held four in-person meet and confers since filing the August status report, and have

 one more scheduled prior to the September 13, 2024 status conference. The parties have engaged

 in productive meet and confers since the last status report, but some disputes remain ongoing,

 including disputes regarding government productions, time frame and geographic scope of

 document production, search methodology, and document custodians.

        With respect to government productions, 16 Defendants have disclosed that they have

 made productions to the government in response to civil investigative demands or similar requests.

 Of those Defendants:

            •   All have agreed to reproduce their government productions to Plaintiffs in this case,

                but five have not started reproduction yet.

            •   One Defendant will not identify to which entity(ies) its government production(s)

                was produced.

            •   One Defendant will not say whether it has received a CID or government subpoena,

                or made a government production.

        With respect to temporal scope, some Defendants continue to ask for an earlier end date

 than Plaintiffs’ proposed compromise of March 2024 (as opposed to the present). Plaintiffs are

 approaching agreement on this issue with certain of these Defendants based on specific

 circumstances, but are currently at disagreement with others.

        With respect to geographic scope, three Defendants maintain that they will not produce

 documents on a nationwide basis.

        Plaintiffs’ search methodology discussions remain ongoing with most Defendants.

 Plaintiffs are discussing the potential use of TAR with three Defendants, whose proposals will be

 submitted to the Court before implementation. At least 28 Defendants have proposed using only




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 search terms, but at least three of them have refused to provide hit reports to allow Plaintiffs the

 opportunity to evaluate any claim of burden.

        Plaintiffs continue to review RealPage’s source code per the parties’ interim agreement

 concerning the same.

        Plaintiffs anticipate that they will seek a discovery conference regarding one or more of

 these ongoing issues with one or more Defendants before the next status conference.


                                (ii)   Defendants

        Defendants are continuing to meet and confer with Plaintiffs regarding Plaintiffs’ responses

 and objections to Defendants’ First Set of Requests for Production. The parties have reached

 agreement on several requests for production, but have an outstanding dispute concerning whether

 Plaintiffs will produce documents that are publicly-available but in Plaintiffs’ possession, custody,

 or control.

        The parties have exchanged draft search terms for the production of materials from

 Plaintiffs and are working through revisions to those draft search terms.


                        (g)     October 4, 2024 Report:

                                (i)    Plaintiffs

        The parties continue to meet and confer regarding Defendants’ responses and objections to

 Plaintiffs’ First and Second Sets of Requests for Production. The parties have held ten in-person

 conferrals since filing the September status report. While the parties have engaged in productive

 meet and confers since the last status report, some disputes remain ongoing.

        With regard to custodial negotiations (i.e., time frame and geographic scope of document

 production, search terms and methodology, and document custodians), Plaintiffs have reached full

 agreement on all issues with the following 14 Defendants: Brookfield, Camden, Equity, Essex,



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 Greystar, Highmark, IRT, Kairoi, Mission Rock, Sherman, Thoma Bravo, Thrive, Windsor, and

 Winn. Plaintiffs have reached agreement on everything except search terms with the following 9

 Defendants: BH, Bozzuto, CWS, FCM, Lantower, Mid-America, Morgan, Simpson, and UDR. Of

 these Defendants, Plaintiffs are discussing the potential use of TAR with UDR, Winn, and Mid-

 America, whose proposals will be submitted to the Court before implementation. Plaintiffs

 maintain that hit reports are required to assess burden. Defendants still objecting to specific search

 terms on grounds of undue burden have generally agreed to provide hit reports on the terms in

 dispute. The parties are nearing agreement on those issues.

        There are still a number of Defendants with whom Plaintiffs are continuing to discuss

 custodial issues, including Allied, AMC, Bell Partners, Bozzuto, CH, ConAm, Cortland, ECI,

 Knightvest, Lincoln, Prometheus, RealPage, Related, Rose, RPM, Sares Regis, Security

 Properties, Trammell Crow, and ZRS. Of these Defendants, 12 are still discussing the total number

 and identity of custodians with Plaintiffs, 12 are still discussing the end date of custodial

 productions with Plaintiffs, and two continue to maintain that they will not produce documents on

 a nationwide basis, in contrast to their Defendant counterparts. The parties are continuing to meet

 and confer, including in-person, on these issues, and are hopeful that agreements are near with

 various Defendants. That said, depending on the outcome of forthcoming scheduled conferrals,

 Plaintiffs anticipate that other discovery disputes may become ripe in the next month.

        As stated in the September status report, all applicable Defendants have now agreed to

 reproduce their government productions.

        Plaintiffs continue to review RealPage’s source code per the parties’ interim agreement

 concerning the same.


                                (ii)    Defendants




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        Defendants are continuing to meet and confer with Plaintiffs regarding Plaintiffs’ responses

 and objections to Defendants’ First Set of Requests for Production. The parties have reached

 agreement on several requests for production, but have an outstanding dispute concerning whether

 Plaintiffs will produce documents that are publicly-available but in Plaintiffs’ possession, custody,

 or control.

        The parties have continued to exchange draft search terms for the production of materials

 from Plaintiffs and are working through revisions to those draft search terms.


                        (h)     November 1, 2024 Report:

                                (i)    Plaintiffs

        The parties continue to meet and confer regarding Defendants’ responses and

 objections to Plaintiffs’ First and Second Sets of Requests for Production. While the parties

 have engaged in productive meet and confers since the last status report, some disputes

 remain ongoing.

        With respect to custodial negotiations (i.e., discussions regarding time frame and

 geographic scope of document production, search terms and methodology, and document

 custodians), Plaintiffs have reached full agreement with 20 Defendants, including, since the

 filing of the last status report: Bell Partners, Bozzuto, ECI, FCM, Trammell Crow, and UDR.

 Plaintiffs have reached agreement on everything except search terms with the following nine

 Defendants: BH, CH, Cortland, CWS, Lantower, Mid-America, Morgan, Security

 Properties, and Simpson. Of these Defendants, Plaintiffs are discussing the use of TAR with

 Winn and Mid-America, whose proposals will be submitted to the Court before

 implementation. UDR’s TAR proposal has been agreed to by the parties and will be

 submitted to the Court in short order. With regard to prompt resolution of search terms,




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 certain Defendants are taking the position that they are unable to provide hit reports due to

 vendor delay.

        There are still a number of Defendants with whom Plaintiffs are continuing to discuss

 other custodial issues. Plaintiffs continue to discuss: (1) the total number and identity of

 custodians with the following ten Defendants: Allied, ConAm, Knightvest, Lincoln,

 Prometheus, RealPage, Related, RPM, Sares Regis, and ZRS; and (2) the time frame of

 custodial productions with the following five Defendants: AMC, ConAm, Prometheus, Rose,

 and ZRS. With respect to time frame, certain Defendants are taking the position that

 custodians selected in connection with their governmental productions suffice for the

 purpose of this litigation, despite their tenures not aligning with the parties’ agreed upon

 relevant time period. The parties are continuing to meet and confer on these issues, and are

 hopeful that agreements are near with various Defendants. That said, depending on the

 outcome of forthcoming conferrals, Plaintiffs anticipate that discovery disputes may become

 ripe in the next month.

        Plaintiffs have reached agreement with all Defendants on the geographic scope of

 document production.

        Plaintiffs plan to proceed with their review of RealPage’s source code according to

 the terms of the parties’ interim agreement concerning the same.


                               (ii)   Defendants

        Defendants are continuing to meet and confer with Plaintiffs regarding Plaintiffs’

 responses and objections to Defendants’ First Set of Requests for Production. The parties

 have reached agreement on several requests for production, but have an outstanding dispute

 concerning whether Plaintiffs will produce documents that are publicly-available.




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        The parties have reached agreement regarding search terms that will be utilized for

 Plaintiffs’ productions of custodial documents.

               2.     Depositions

                      (a)    March 29, 2024 Report: No deposition notices have yet been served.

                      (b)    May 10, 2024 Report: No deposition notices have yet been served.

                      (c)    June 7, 2024 Report: No deposition notices have yet been served.

                      (d)    July 3, 2024 Report: No deposition notices have yet been served.

                      (e)    August 2, 2024 Report: No deposition notices have yet been served.

                      (f)    September 6, 2024 Report: No deposition notices have yet been
                             served.

                      (g)    October 4, 2024 Report: No deposition notices have yet been
                             served.

                      (h)    November 1, 2024 Report: No deposition notices have yet been
                             served.

               3.     Requests for Admissions

                      (a)    March 29, 2024 Report: No requests for admission have yet been
                             served.

                      (b)    May 10, 2024 Report:

                             (i)    On April 5, 2024, Plaintiffs served their First Set of Requests
                                    for Admission. Defendants served their responses and
                                    objections to these requests by May 6, 2024. The parties will
                                    meet and confer regarding these responses and objections,
                                    and Plaintiffs anticipate that a dispute concerning certain
                                    Defendants’ responses may become ripe before the next
                                    status report.

                      (c)    June 7, 2024 Report: The parties are in the process of meeting and
                             conferring about the adequacy of Defendants’ responses and
                             objections to Plaintiffs’ First Set of Requests for Admission.

                      (d)    July 3, 2024 Report: The parties are in the process of meeting and
                             conferring about the adequacy of Defendants’ responses and
                             objections to Plaintiffs’ First Set of Requests for Admission.




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                       (e)     August 2, 2024 Report: The parties are in the process of meeting
                               and conferring about the adequacy of Defendants’ responses and
                               objections to Plaintiffs’ First Set of Requests for Admission.
                               Windsor served two requests for admission on all Plaintiffs on July
                               29, 2024. Plaintiffs’ responses to those requests for admission are
                               due on August 28, 2024.

                       (f)     September 6, 2024 Report: The parties have finalized negotiations
                               with respect to the adequacy of Defendants’ responses and
                               objections to Plaintiffs’ First Set of Requests for Admission.

                       (g)     October 4, 2024 Report: UDR served requests for admission on all
                               Plaintiffs on September 16, 2024. Plaintiffs’ responses to those
                               requests for admission are due on October 16, 2024. Windsor and
                               Plaintiffs are in the process of meeting and conferring about the
                               adequacy of Plaintiffs’ Responses and Objections to Windsor’s
                               Requests for Admission.

                       (h)     November 1, 2024 Report: UDR and Plaintiffs are in the process
                               of meeting and conferring regarding Plaintiffs’ Responses and
                               Objections to UDR’s Request for Admission. Windsor and
                               Plaintiffs are in the process of meeting and conferring regarding
                               Plaintiffs’ Responses and Objections to Windsor’s Requests for
                               Admission. Windsor, UDR, and Plaintiffs are scheduling an in-
                               person conference concerning these requests for admission.
                               Depending on the results of that conference, the parties may
                               seek judicial resolution of their current impasse.

               4.      Interrogatories

                       (a)     March 29, 2024 Report:

                               (i)       Plaintiffs

        Plaintiffs served their First Set of Interrogatories to Owner, Owner-Operator, and Manager

 Defendants on March 22, 2024, to which responses are due on April 22, 2024.


                               (ii)      Defendants

        Defendants served their First Set of Interrogatories on Plaintiffs on March 7, 2024, to which

 responses are due April 8, 2024. Defendants served their Second Set of Interrogatories on

 Plaintiffs on March 15, 2024, to which responses are due on April 15, 2024.




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                           (b)      May 10, 2024 Report:

                                    (i)     Plaintiffs

         Plaintiffs agreed to Defendants’ request for an extension to May 13, 2024 to serve their

 responses to Plaintiffs’ First Set of Interrogatories to Owner, Owner-Operator, and Manager

 Defendants. Defendants will serve their responses to these interrogatories by this date. 6


                                    (ii)    Defendants

         Plaintiffs served their responses and objections to Defendants’ First Set of Interrogatories

 on April 8, 2024. Following agreement between the parties to extend Plaintiffs’ deadline to

 respond to Defendants’ Second Set of Interrogatories, Plaintiffs served their responses and

 objections to Defendants’ Second Set of Interrogatories on April 25, 2024. The parties will meet

 and confer regarding any disputes concerning Plaintiffs’ interrogatory responses.


                           (c)      June 7, 2024 Report:

                                    (i)     Plaintiffs

       Most Defendants served their responses to Plaintiffs’ First Set of Interrogatories to Owner,

 Owner-Operator, and Manager Defendants by May 13, 2024. 7 The parties are in the process of

 meeting and conferring regarding these responses.


                                    (ii)    Defendants




 6
   UDR served its responses to Plaintiffs’ First Set of Interrogatories to Owner, Owner-Operator, and Manager
 Defendants on May 3, 2024.
 7
  IRT served their responses to Plaintiffs’ First Set of Interrogatories to Owner, Owner-Operator, and Manager
 Defendants responses on May 18, 2024, pursuant to an agreement with Plaintiffs. FPI served its responses and
 objections to Plaintiffs’ First Set of Interrogatories to Owners, Owner-Operators and Manager Defendant on May 17,
 2024, pursuant to an agreement with Plaintiffs.




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      On April 8, 2024, Plaintiffs served their responses and objections to the LRO Defendants’

 First Set of Interrogatories. The parties met and conferred initially on May 20 and are continuing

 to meet and confer.


                        (d)    July 3, 2024 Report:

                               (i)     Plaintiffs

      The parties are in the process of meeting and conferring regarding Defendants interrogatory

 responses and objections.


                               (ii)    Defendants

      The parties continue to meet and confer regarding Plaintiffs’ responses and objections to both

 the LRO Defendants’ First Set of Interrogatories and Defendants’ Second Set of Interrogatories.


                        (e)    August 2, 2024 Report:

                               (i)     Plaintiffs

      Plaintiffs served Supplemental Responses and Objections to the LRO Defendants’ First Set

 of Interrogatories. The parties are in the process of meeting and conferring regarding Defendants’

 Responses and Objections to Plaintiffs’ First Set of Interrogatories.


                               (ii)    Defendants

      The parties continue to meet and confer regarding Plaintiffs’ responses and objections to both

 the LRO Defendants’ First Set of Interrogatories and Defendants’ Second Set of Interrogatories.

 As for the Defendants’ Second Set of Interrogatories, the parties appear to be close to an impasse

 on one interrogatory in particular concerning certain information Defendants are seeking from

 each Plaintiff about non-multifamily forms of housing. The parties are working to schedule an in-

 person meet and confer to discuss that interrogatory.




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      Windsor served two interrogatories on all Plaintiffs on July 29, 2024. Plaintiffs’ responses

 to those interrogatories are due on August 28, 2024.


                       (f)     September 6, 2024 Report:

                               (i)     Plaintiffs

      The parties are in the process of meeting and conferring regarding Defendants’ Responses

 and Objections to Plaintiffs’ First Set of Interrogatories. Specifically, Plaintiffs and certain

 Defendants are negotiating whether and to what extent such Defendants may agree to provide

 answers regarding joint ownership of properties (in the case of owners) or ownership of properties

 (in the case of managers).


                               (ii)    Defendants

      The parties continue to meet and confer regarding Plaintiffs’ responses and objections to both

 the LRO Defendants’ First Set of Interrogatories and Defendants’ Second Set of Interrogatories.

 As for the Defendants’ Second Set of Interrogatories, the parties met and conferred in person to

 discuss one interrogatory concerning certain information Defendants are seeking from each

 Plaintiff about non-multifamily forms of housing, and are continuing to negotiate regarding that

 interrogatory. As a result of that in person conference, Plaintiffs made a revised offer to provide

 additional information concerning non-multifamily forms of housing, which Defendants have

 accepted.


                       (g)     October 4, 2024 Report:

                               (i)     Plaintiffs

      The parties continue to meet and confer regarding Defendants’ Responses and Objections to

 Plaintiffs’ First Set of Interrogatories. Specifically, at least 17 Defendants have not provided

 complete information regarding ownership interest(s) held by others in Defendant multifamily


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 properties (in the case of owners) or ownership interest(s) in Defendant multifamily properties (in

 the case of managers).


                                (ii)   Defendants

      The parties continue to meet and confer regarding Plaintiffs’ responses and objections to the

 LRO Defendants’ First Set of Interrogatories.          As for the Defendants’ Second Set of

 Interrogatories, the parties resolved its outstanding issues during the meet and confer process.

      UDR served one interrogatory on all Plaintiffs on September 16, 2024. Plaintiffs’ response

 to that interrogatory is due on October 16, 2024.

      Windsor and Plaintiffs are in the process of meeting and conferring about the adequacy of

 Plaintiffs responses and Objections to Windsor’s interrogatories.


                          (h)   November 1, 2024 Report

                                (i)    Plaintiffs

      The parties continue to meet and confer regarding Defendants’ Responses and

 Objections to Plaintiffs’ First Set of Interrogatories. At present, at least 13 Defendants have

 not agreed to provide complete information regarding ownership interest(s) held by others

 in Defendant multifamily properties (in the case of owners) or ownership interest(s) in

 Defendant multifamily properties (in the case of managers). Additionally, Plaintiffs are in

 the process of meeting and conferring with certain Defendants who either (1) earlier

 represented they will supplement their responses to Plaintiffs’ First Set of Interrogatories

 but have yet to; or (2) have not provided complete responses to Plaintiffs’ interrogatories.


                                (ii)   Defendants




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       Defendants plan to continue to meet and confer with Plaintiffs regarding Plaintiffs’

 responses and objections to the LRO Defendants’ First Set of Interrogatories.

       UDR served one interrogatory on all Plaintiffs on September 16, 2024. UDR and

 Plaintiffs are in the process of meeting and conferring regarding Plaintiffs’ responses and

 objections to UDR’s interrogatory.

       Windsor and Plaintiffs are in the process of meeting and conferring regarding

 Plaintiffs’ responses and objections to Windsor’s interrogatories.

                  5.         Other

                             (a)     March 29, 2024 Report: Initial Disclosures

       (i)      Plaintiffs

         Plaintiffs served their Rule 26(a)(1) initial disclosures on February 26, 2024. Plaintiffs

 served supplemental Rule 26(a)(1) initial disclosures on March 7, 2024.

       (ii)     Defendants

         Certain Defendants served their Rule 26(a)(1) initial disclosures on February 26 and

 February 27, 2024. 8

                             (b)     May 10, 2024 Report: Initial Disclosures

         Defendants Prometheus, Sares Regis, and Rose have served their Rule 26(a)(1) initial

 disclosures. Regarding CONTI, the Court entered an agreed scheduling order relating to CONTI’s

 Rule 12(b)(1) motions to dismiss filings in Vincin and Kabisch, which also set CONTI’s initial

 disclosure deadline for May 17, 2024. (See Dkt. 315).

                             (c)     June 7, 2024 Report: Not applicable at this time.

                             (d)     July 3, 2024 Report: Not applicable at this time.

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  As to the severed and transferred Kabisch matters, Plaintiffs are conferring with CONTI, Prometheus, and Rose
 about their disclosures upon transfer back to this Court. Plaintiffs are conferring with CONTI regarding CONTI’s
 position as to Vincin with respect to disclosures.




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                     (e)    August 2, 2024 Report: Not applicable at this time.

                     (f)    September 6, 2024 Report: Not applicable at this time.

                     (g)    October 4, 2024 Report: Not applicable at this time.

                     (h)    November 1, 2024 Report: Not applicable at this time.


       B.    Describe with specificity any issues regarding “structured data discovery.”

             1.      March 29, 2024 Report: At this time, there are no issues regarding
                     structured data discovery.

             2.      May 10, 2024 Report: At this time, there are no issues regarding structured
                     data discovery.

             3.      June 7, 2024 Report: At this time, there are no issues regarding structured
                     data discovery.

             4.      July 3, 2024 Report: At this time, there are no issues regarding structured
                     data discovery. Plaintiffs have sent questions concerning data samples to
                     certain Defendants who produced their own data samples, and those parties
                     will meet and confer regarding those questions.

             5.      August 2, 2024 Report: At this time, there are no issues regarding structured
                     data discovery. Plaintiffs have sent questions concerning data samples to
                     certain Defendants who produced their own data samples, those Defendants
                     responded by July 31, 2024 (or have agreed with Plaintiffs on an extension
                     to respond), and those parties will meet and confer regarding those
                     questions. Plaintiffs have completed their review of RealPage’s structured
                     data sample and, after determining that more information is needed, have
                     requested or are in the process of requesting structured data samples from
                     those Defendants that have not yet provided them.

             6.      September 6, 2024 Report: As indicated in the last status report, Plaintiffs
                     believe that RealPage’s structured data sample cannot replace structured
                     data samples from each individual Defendant, and so Plaintiffs have
                     conducted initial meet and confers with Defendants who have not already
                     produced structured data samples. 16 Defendants, other than RealPage,
                     have provided such samples. Given that this process remains ongoing, the
                     parties anticipate that they will need to request an extension on the
                     structured data production completion deadline of October 25, 2024. The
                     parties will be in a better position to propose an extension in early October,
                     when the next status report is due. In addition, per the Court’s instruction
                     during the parties’ February 13, 2024 telephonic conference, Defendants



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                     and Plaintiffs have each proposed two potential individuals to be appointed
                     as special master to oversee structured data discovery in this matter.
                     Plaintiffs are currently awaiting Defendants’ position on whether the parties
                     can agree on either individual proposed by Plaintiffs. If they cannot, the
                     parties will submit their proposals to the Court.

             7.      October 4, 2024 Report: At present, 26 Defendants, other than RealPage,
                     have provided a structured data sample. Plaintiffs continue to work with the
                     remaining 14 Defendants on structured data sample productions. The parties
                     anticipate that they will need to request an extension on the structured data
                     production completion deadline of October 25, 2024, and intend to file a
                     joint motion to extend that deadline in short order. Pursuant to the Court’s
                     Order on September 17, 2024 (Dkt. 984), the parties submitted their
                     respective proposals to the Court regarding potential individuals to be
                     appointed as special master to oversee structured data discovery in this
                     matter (Dkt. 987).

             8.      November 1, 2024 Report: On October 10, 2024, the Court granted the
                     parties’ Joint Motion to Extend the Structured Data Production
                     Deadline to December 20, 2024. (Dkt. 1005). At present, the following
                     six Defendants have yet to provide structured data samples: Bell
                     Partners, Cortland, Knightvest, RPM, Trammell Crow, and ZRS.
                     Plaintiffs continue to work with those Defendants who have not yet
                     produced structured data samples. The parties’ respective proposals to
                     the Court regarding potential individuals to be appointed as special
                     master to oversee structured data discovery in this matter are pending.
                     (Dkt. 987).

       C.    Describe with specificity all discovery completed since the last status conference.

             1.      March 29, 2024 Report




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         UDR made an initial production on March 18 and intends to continue producing documents

 on a rolling basis.

         The following Defendants have produced one or more documents since the last status

 conference and also intend make a further production by the April 26, 2024, deadline: ConAm;

 FCM (an insurance agreement and additional documents); FPI (an insurance agreement);

 RealPage; and the Thoma Bravo Defendants (an insurance agreement).

         The following Defendants have not produced any documents or data since the last status

 conference, but intend to make an initial document production by the April 26, 2024, deadline:

 Allied, Bell, BH, Bozzuto, Brookfield, Camden, CH, Cortland; CWS; Dayrise; ECI; Equity; Essex;

 Greystar; Highmark; SPR; Sherman; Simpson; IRT; Kairoi; Knightvest; Lantower; Lincoln;

 MAA; Mission Rock; Morgan Properties; Related; Rose; RPM Living; Sares Regis; Thrive;

 Trammell Crow; Windsor; Winn; and ZRS.

         The Court severed and transferred the Kabisch matter to W.D. Tex. (as to CONTI),

 S.D.N.Y. (as to Rose), and W.D. Wash. (as to Sares Regis and Prometheus). The JPML issued a

 CTO (CTO-6) on March 27, 2024, and the JPML has stayed entry of that order for 7 days. As to

 those matters, the parties are conferring with CONTI, Prometheus, and Rose about responding to

 Plaintiffs’ requests upon transfer back to this Court. The parties are conferring about CONTI’s

 position as to the Plaintiff’s claims in Vincin, for which CONTI did not serve responses to

 Plaintiffs’ requests.

         Plaintiffs have agreed to defer discovery of Avenue5 based on their settlement in principle.

 AMC’s responses to Plaintiffs’ document requests are due April 21, 2024.

                 2.      May 10, 2024 Report:




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         Since the last status conference, the following Defendants made an initial document

 production by the April 26, 2024, deadline to begin producing non-custodial documents: Allied;

 Bell; BH; Bozzuto; Brookfield; Camden; CH Real Estate Services (“CH”); ConAm; Cortland;

 CWS; Dayrise; ECI; Equity; Essex; FCM; FPI; Greystar; Highmark; SPR; Sherman; Simpson;

 IRT; Kairoi; Knightvest; Lantower; Lincoln; MAA; Mission Rock; Morgan Properties; Related;

 Rose; RPM Living; Sares Regis; the Thoma Bravo Defendants; Thrive; Trammell Crow; Windsor;

 Winn; and ZRS. AMC’s deadline to begin producing non-custodial documents is May 21, 2024,

 and it intends to make an initial document production by that deadline. The deadline for

 Prometheus to make its initial document production is June 11, 2024. (Dkt. 883 at 4-5).

         RealPage, Inc. made its second production of documents on April 26, 2024, which included

 non-custodial documents.

         UDR made its second production of documents on May 2, 2024, and intends to continue

 producing responsive, non-privileged documents on a rolling basis.

         Regarding CONTI, the Court entered an agreed scheduling order relating to CONTI’s Rule

 12(b)(1) motions to dismiss filings in Vincin and Kabisch, which set filing deadlines and allows

 Plaintiffs to take jurisdictional discovery relating to the motions to dismiss, as needed. (See Dkt.

 315).




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                                               Filed               Page 23 of 57 PageID #: 16737
         Regarding data productions, RealPage is working to produce data samples to Plaintiffs by

 May 15, 2024, which Plaintiffs have agreed, in the interest of efficiency, will satisfy the obligation

 of other Defendants to produce data samples by that date to the extent any other Defendant chooses

 not to produce its own data samples at that time. BH; Camden; Equity; Essex; Greystar; Highmark;

 Lantower; Lincoln; UDR; and Windsor intend to produce samples of their own data by May 15,

 2024.   After reviewing the samples produced by RealPage, Plaintiffs will work with the

 Defendants that did not make an initial data production to obtain sampling from those Defendants

 to the extent necessary.

                3.      June 7, 2024 Report

         Since the last status report, the following Defendants have made additional document

 productions: AMC; FCM; FPI; Dayrise; Greystar; MAA; Morgan Properties; RealPage; RPM;

 Sherman; Sares Regis (initial production); and Crow Holdings.

         Regarding data productions, at RealPage’s request, Plaintiffs extended the May 15, 2024

 deadline referenced above to May 22, 2024. The following Defendants produced data samples

 since the last status report: BH; Equity; Essex; Greystar; Highmark; Lantower; Lincoln; RealPage;

 UDR; Windsor; and Winn.

         Regarding CONTI, the Court granted CONTI and Plaintiffs’ Joint Motion to Stay

 Deadlines as to CONTI (Dkt. 914).

                4.      July 3, 2024 Report:

         Since the last status report, the following Defendants have made additional document

 productions: BH; Camden; Cortland; Prometheus; Rose; RPM Living; Security Properties; and

 UDR.

                5.      August 2, 2024 Report:




Case 3:23-md-03071          Document 1011         24 11/01/24
                                                Filed               Page 24 of 57 PageID #: 16738
        Since the last status report, the following Defendants have made additional document

 productions: AMC, Equity, FCM, Prometheus, RealPage, Rose, RPM, Sares Regis, Sherman, the

 Thoma Bravo Defendants, Windsor, and ZRS.

        As noted in the May and June status reports, some Defendants elected to defer providing

 data samples until Plaintiffs had an opportunity to review data samples provided by RealPage. As

 discussed in II.B.5. above, Plaintiffs have reviewed RealPage’s data samples, and have concluded

 that they must proceed to collect data samples from each Defendant and are proceeding with

 meeting and conferring with the remaining Defendants about production of their own data samples.

                6.      September 6, 2024 Report:

        Since the last status report, the following Defendants have made additional document

 productions: Camden, Cortland, ECI, Essex, Highmark, Knightvest, Lincoln, Lantower, RPM,

 Security Properties, the Thoma Bravo Defendants, UDR, and Windsor. Attached as Appendix A,

 please find a list of the number of documents produced since April 2024 as of 5:00pm ET on

 September 6, 2024, broken down by each Defendant. This list does not include structured data

 productions. Several Defendants have recently reached agreement with Plaintiffs regarding

 producing regulatory productions (where applicable), and custodians and search terms. Many

 Defendants are still negotiating these threshold issues with Plaintiffs, as reflected in Part II.A.1.

 above. Some Defendants have represented that they will make additional document production as

 early as next week.     Defendants would like to explicitly note that it is not surprising that the

 document production numbers reflected in Appendix A for some Defendants are currently low;

 this reflects the fact that Plaintiffs and individual Defendants are still negotiating threshold issues

 related to document productions.




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        As to structured data, the following Defendants produced data samples since the last status

 report: AMC, ConAm, Equity, Highmark, Lantower, Morgan Properties, and Windsor.

                7.      October 4, 2024 Report:

        Since the last status report, the following Defendants have made additional document

 productions: AIR, AMC, Bell Partners, Bozzuto, Camden, ConAm, CWS, ECI, Equity, Essex,

 FCM, Greystar, Highmark, Lincoln, MAA, Prometheus, RealPage, Rose, RPM, Sares Regis,

 Related, Thoma Bravo, UDR, and Winn. Attached as Appendix A, please find a list of the number

 of documents produced since the September joint status report as of 12:00 pm ET on October 4,

 2024, broken down by each Defendant. This list does not include structured data productions.

 Several Defendants have recently reached agreement with Plaintiffs regarding custodians and

 search terms, and many Defendants are still negotiating these key issues with Plaintiffs, as

 reflected in Part II.A.1. above.

        As to structured data, the following Defendants produced data samples since the last status

 report: Bozzuto, ConAm, CWS, ECI, FCM, IRT, MAA, Rose, Security Properties, and Thrive.

                8.      November 1, 2024 Report:

        Since the last status report, the following Defendants have made additional document

 productions: BH, CH, Cortland, CWS, Essex, Lincoln, Related, Rose, RPM, Simpson, the

 Thoma Bravo Defendants, Thrive, and UDR. Attached as Appendix A, please find a list of

 the number of documents produced since the October joint status report as of 12:00 pm ET

 on November 1, 2024, broken down by each Defendant. This list does not include structured

 data productions. Several Defendants have recently reached agreement with Plaintiffs

 regarding custodians and search terms, and many Defendants are still negotiating these key

 issues with Plaintiffs, as reflected in Part II.A.1. above.




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        As to structured data, the following Defendants produced data samples since the last

 status report: Brookfield, CH, CWS, Equity, Highmark, Kairoi, Lincoln, Prometheus,

 Related, Rose, Sares Regis, Sherman, and Windsor.

        D.      Describe with specificity all discovery anticipated to be served or for which the
                response deadline will expire before the next status conference.

                1.      March 29, 2024 Report:

        Defendants do not anticipate serving any discovery before the next status conference.

 Plaintiffs anticipate that they will serve their responses and objections to Defendants’ first and

 second sets of interrogatories before the May 17, 2024, status conference. Defendants anticipate

 that they will serve their responses and objections to Plaintiffs’ interrogatories before the May 17,

 2024, status conference.

                2.      May 10, 2024 Report:

        Defendants do not anticipate serving any discovery before the June 14, 2024 status

 conference, and do not anticipate that any discovery response deadline will expire between the

 May 17, 2024 status conference and June 14, 2024 status conference. Plaintiffs do not anticipate

 serving any discovery before the June 14, 2024 status conference, and do not anticipate that any

 discovery response deadline other than those outlined above will expire between the May 17, 2024

 status conference and June 14, 2024 status conference.

                3.      June 7, 2024 Report:

        Neither Plaintiffs nor Defendants anticipate serving any discovery before the July 12, 2024

 status conference, and do not anticipate that any discovery response deadline will expire between

 the June 14, 2024 and July 12, 2024 status conferences.

                4.       July 3, 2024 Report:




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        Neither Plaintiffs nor Defendants anticipate serving any discovery before the July 12, 2024

 status conference, and do not anticipate that any discovery response deadline will expire between

 the July 12, 2024 and August 9, 2024 status conferences.

                5.       August 2, 2024 Report:

        Besides the discovery outlined above, Defendants do not anticipate serving any discovery

 before the August 9, 2024 status conference, and do not anticipate that any discovery response

 deadline will expire between the August 9, 2024 and September 13, 2024 status conferences.

 Plaintiffs also do not anticipate serving any discovery before the August 9, 2024 status conference,

 and, but for Plaintiffs’ forthcoming responses to Windsor’s RFAs and Interrogatories on all

 Plaintiffs, do not anticipate that any discovery response deadline will expire between the August

 9, 2024 and September 13, 2024 status conferences.

                6.      September 6, 2024 Report:

        Neither Plaintiffs nor Defendants anticipate serving any discovery before the September

 13, 2024 status conference, and do not anticipate that any discovery response deadline will expire

 between the September 13, 2024 and October 11, 2024 status conferences.

                7.      October 4, 2024 Report

        Besides the discovery outlined above, Defendants do not anticipate serving any discovery

 before the October 11, 2024 status conference, and do not anticipate that any discovery response

 deadline will expire between the October 11, 2024 and November 8, 2024 status conferences.

 Plaintiffs also do not anticipate serving any discovery before the October 11, 2024 status

 conference, and, but for Plaintiffs’ forthcoming responses to UDR’s RFAs and Interrogatory on

 all Plaintiffs, do not anticipate that any discovery response deadline will expire between the

 October 11, 2024 and November 8, 2024, status conferences.

                8.      November 1, 2024 Report



Case 3:23-md-03071        Document 1011          28 11/01/24
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        Defendants do not anticipate serving any discovery before the November 1, 2024

 status conference, and do not anticipate that any discovery response deadline will expire

 between the November 8 and December 13, 2024 status conferences.

        Plaintiffs are contemplating serving additional discovery concerning the presence of

 arbitration agreements and/or class action waivers in Defendants’ lease agreements

 generally, as well as those that may have been added during the pendency of this action.

        E.     Describe with specificity any pending or anticipated discovery related motions.

               1.     March 29, 2024 Report: At this time, there are no pending or anticipated
                      discovery related motions.

               2.     May 10, 2024 Report: Prior to the June 14, 2024 status conference,
                      Plaintiffs anticipate raising discovery disputes concerning the time frame
                      and geographic scope of document production, as well as to compel certain
                      Defendants to produce documents already produced to government
                      regulators.

               3.     June 7, 2024 Report: At this time, there are no pending or anticipated
                      discovery related motions. The parties have found the first two in-person
                      conferrals to be constructive and highly productive. Plaintiffs have
                      encountered scheduling difficulties with certain Defendants in arranging
                      additional in-person meet and confers. In order to promptly raise upcoming
                      potential motions with the Court, Plaintiffs have proposed a regular
                      schedule for in-person conferrals if needed, presumptively in Nashville.
                      Defendants believe that setting a regular schedule for in-person conferrals
                      is unnecessary and inefficient because any in-person meet and confers can
                      be (and have been) scheduled on as-needed basis between the individual
                      Plaintiffs’ attorney responsible for a particular defendant and that
                      Defendant. The Parties will continue to negotiate that proposal.

               4.     July 3, 2024 Report: At this time, there are no pending or anticipated
                      discovery related motions.

               5.     August 2, 2024 Report: Plaintiffs have met and conferred in-person with
                      RealPage and anticipate that a discovery motion relating to its production
                      of source code may become ripe before the September status conference.
                      Otherwise, the Parties have one in-person meet and confer scheduled for
                      August 5, 2024, and Plaintiffs anticipate that others will be scheduled in the
                      next few weeks. Depending on the outcome of those meet and confers,
                      Plaintiffs anticipate that several discovery disputes may become ripe before
                      the September status conference.



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               6.      September 6, 2024 Report: Plaintiffs filed a motion to compel an in-person
                       discovery conferral with Cortland on August 27, 2024, which, following the
                       Court’s August 28, 2024 Order, was resolved by the parties. Plaintiffs have
                       filed a withdrawal of the motion to compel with respect to Cortland.
                       Plaintiffs anticipate filing a joint motion for a discovery conference with
                       one or more Defendants prior to the status conference. Depending on the
                       outcome of scheduled in-person meet and confers, Plaintiffs anticipate that
                       additional discovery disputes may become ripe before the October status
                       conference.

               7.      October 4, 2024 Report: Depending on the outcome of upcoming meet and
                       confers, including in-person conferrals, Plaintiffs anticipate that additional
                       discovery disputes may become ripe in the next month.

               8.      November 1, 2024 Report: Depending on the outcome of upcoming
                       meet and confers, Plaintiffs anticipate that discovery disputes may
                       become ripe in the next month.

 III.   Does any party anticipate or has any party identified any issues arising from the Stipulation
        and Order on Federal Rule of Evidence 502 (Dkt. 822). If so, please explain in detail.

        A.     March 29, 2024 Report: At this time, no party anticipates or has identified any
               issues arising from the Stipulation and Order on FRE 502 (Dkt. 822).

        B.     May 10, 2024 Report: At this time, no party anticipates or has identified any issues
               arising from the Stipulation and Order on FRE 502 (Dkt. 822).

        C.     July 3, 2024 Report: At this time, no party anticipates or has identified any issues
               arising from the Stipulation and Order on FRE 502 (Dkt. 822).

        D.     August 2, 2024 Report: At this time, no party anticipates or has identified any
               issues arising from the Stipulation and Order on FRE 502 (Dkt. 822).

        E.     September 6, 2024 Report: At this time, no party anticipates or has identified any
               issues arising from the Stipulation and Order on FRE 502 (Dkt. 822).

        F.     October 4, 2024 Report: At this time, no party anticipates or has identified any
               issues arising from the Stipulation and Order on FRE 502 (Dkt. 822).

        G.     November 1, 2024 Report: At this time, no party anticipates or has identified
               any issues arising from the Stipulation and Order on FRE 502 (Dkt. 822).

 IV.    Does any party anticipate or has any party identified any issues arising from the Case
        Management Order (Doc. No. 818). If so, please explain in detail.

        A.     March 29, 2024 Report: At this time, no party anticipates or has identified any
               issues arising from the Case Management Order (Dkt. 818).




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       B.     May 10, 2024 Report: At this time, no party anticipates or has identified any issues
              arising from the Case Management Order (Dkt. 818).

       C.     June 7, 2024 Report: At this time, no party anticipates or has identified any issues
              arising from the Case Management Order (Dkt. 818).

       D.     July 3, 2024 Report: At this time, no party anticipates or has identified any issues
              arising from the Case Management Order (Dkt. 818).

       E.     August 2, 2024 Report: At this time, no party anticipates or has identified any
              issues arising from the Case Management Order (Dkt. 818).

       F.     September 6, 2024 Report: Plaintiffs proposed a supplement to the Case
              Management Order (Dkt. 818) to Defendants on August 28, 2024, setting forth
              certain global interim deadlines to assist in uniformly moving negotiations forward,
              along with specific dates for in-person conferrals. The parties originally discussed
              global negotiations on various issues; however, Defendants have since requested
              that, to the extent Plaintiffs have issues with a particular Defendant’s discovery
              responses, those should be raised with that Defendant’s counsel, and the specific
              issue addressed as to that Defendant’s particular responses. The parties are
              conferring regarding Plaintiffs’ proposed supplement.

       G.     October 4, 2024 Report: Besides the structured data deadline extension referenced
              above, the parties have resolved any issues related to the Case Management Order
              (Dkt. 818).

       H.     November 1, 2024 Report: As mentioned above, the Court granted the parties’
              Joint Request to Extend the Structured Data Production Deadline. (Dkt.
              1005). At this time, no party anticipates or has identified any other issues
              arising from the Case Management Order (Dkt. 818).

 V.    Does any party anticipate or has any party identified any issues arising from the Order on
       Deposition Protocol (Doc. No. 816). If so, please explain in detail.

       A.     March 29, 2024 Report: At this time, no party anticipates or has identified any
              issues arising from the Order on Deposition Protocol (Dkt. 816).

       B.     May 10, 2024 Report: The parties’ respective positions regarding issues related to
              the Order on Deposition Protocol (Dkt. 816) are identified in the parties’ Joint
              Motion for Discovery Conference on Depositions Limits (Dkt. 908), and
              accompanying Joint Submission of Disputes Regarding Supplemental Order on
              Deposition Protocol (Dkt. 908-1), which the parties filed on May 8, 2024. The
              parties are awaiting a discovery conference on that dispute.

       C.     June 7, 2024 Report: At this time, no party anticipates or has identified any issues
              arising from the Order on Deposition Protocol (Dkt. 816) or the Court’s Stipulation
              and Order on Deposition Limits (Dkt. 911).




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       D.     July 3, 2024 Report: At this time, no party anticipates or has identified any issues
              arising from the Order on Deposition Protocol (Dkt. 816) or the Court’s Stipulation
              and Order on Deposition Limits (Dkt. 911).

       E.     August 2, 2024 Report: At this time, no party anticipates or has identified any
              issues arising from the Order on Deposition Protocol (Dkt. 816) or the Court’s
              Stipulation and Order on Deposition Limits (Dkt. 911).

       F.     September 6, 2024 Report: At this time, no party anticipates or has identified any
              issues arising from the Order on Deposition Protocol (Dkt. 816) or the Court’s
              Stipulation and Order on Deposition Limits (Dkt. 911).

       G.     October 4, 2024 Report: At this time, no party anticipates or has identified any
              issues arising from the Order on Deposition Protocol (Dkt. 816) or the Court’s
              Stipulation and Order on Deposition Limits (Dkt. 911).

       H.     November 1, 2024 Report: At this time, no party anticipates or has identified
              any issues arising from the Order on Deposition Protocol (Dkt. 816) or the
              Court’s Stipulation and Order on Deposition Limits (Dkt. 911).

 VI.   Does any party anticipate or has any party identified any issues arising from the Joint
       Electronically Stored Information (Dkt. 815). If so, please explain in detail.

       A.     March 29, 2024 Report: At this time, no party anticipates or has identified any
              issues arising from the Joint Electronically Stored Information Order (Dkt. 815).

       B.     May 10, 2024 Report: At this time, no party anticipates or has identified any issues
              arising from the Joint Electronically Stored Information Order (Dkt. 815).

       C.     June 7, 2024 Report: At this time, no party anticipates or has identified any issues
              arising from the Joint Electronically Stored Information Order (Dkt. 815).

       D.     July 3, 2024 Report: At this time, no party anticipates or has identified any issues
              arising from the Joint Electronically Stored Information Order (Dkt. 815).
              However, Windsor is meeting and conferring with Plaintiffs concerning whether it
              is necessary for Windsor to continue to preserve certain resident files that it believes
              are duplicative and unnecessarily burdensome to continue preserving for the
              duration of this litigation.

       E.     August 2, 2024 Report: At this time, no party anticipates or has identified any
              issues arising from the Joint Electronically Stored Information Order (Dkt. 815).

       F.     September 6, 2024 Report: In search methodology negotiations, Plaintiffs and a
              number of Defendants have provided hit reports for the proposed search terms to
              be used on their respective document productions, which has helped move
              discussions forward productively and avoid most search methodology disputes. As
              mentioned above, some Defendants have not.




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         G.     October 4, 2024 Report: Additional custodial search term negotiations remain
                ongoing with numerous Defendants, as reflected above. On September 26, 2024,
                Plaintiffs asked Defendants to jointly move the Court to modify the Electronically
                Stored Information Order to shorten the time frame for Plaintiffs to identify second-
                round custodians to 60 days (rather than 90 days) before the March 28, 2025 close
                of document production. The parties will confer regarding Plaintiffs’ proposal.

         H.     November 1, 2024 Report: Defendants did not agree with Plaintiffs’ request
                to move the Court to modify the Electronically Stored Information Order to
                shorten the time frame for Plaintiffs to identify second-round custodians to 60
                days (rather than 90 days) before the March 28, 2025 close of document
                production. At this time, no party anticipates or has identified any issues
                arising from the Joint Electronically Stored Information Order (Dkt. 815).

 VII.    Does any party anticipate or has any party identified any issues arising from the Stipulation
         and Order on Expert Discovery (Dkt. 814). If so, please explain in detail.

         A.     March 29, 2024 Report: At this time, no party anticipates or has identified any
                issues arising from the Stipulation and Order on Expert Discovery (Dkt. 814).

         B.     May 10, 2024 Report: At this time, no party anticipates or has identified any issues
                arising from the Stipulation and Order on Expert Discovery (Dkt. 814).

         C.     June 7, 2024 Report: At this time, no party anticipates or has identified any issues
                arising from the Stipulation and Order on Expert Discovery (Dkt. 814).

         D.     July 3, 2024 Report: At this time, no party anticipates or has identified any issues
                arising from the Stipulation and Order on Expert Discovery (Dkt. 814).

         E.     August 2, 2024 Report: At this time, no party anticipates or has identified any
                issues arising from the Stipulation and Order on Expert Discovery (Dkt. 814).

         F.     September 6, 2024 Report: At this time, no party anticipates or has identified any
                issues arising from the Stipulation and Order on Expert Discovery (Dkt. 814).

         G.     October 4, 2024 Report: At this time, no party anticipates or has identified any
                issues arising from the Stipulation and Order on Expert Discovery (Dkt. 814).

         H.     November 1, 2024 Report: At this time, no party anticipates or has identified
                any issues arising from the Stipulation and Order on Expert Discovery (Dkt.
                814).

 VIII.   Provide a proposed status conference agenda.

         A.     March 29, 2024 Report: The parties have no proposed agenda items or topics to
                discuss at the status conference scheduled for April 5, 2024.




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       B.    May 10, 2024 Report: Unless the Court intends to take up the parties’ dispute
             concerning depositions limits, the parties have no proposed agenda items or topics
             to discuss at the status conference scheduled for May 17, 2024.

       C.    June 7, 2024 Report: The parties have no proposed agenda items or topics to
             discuss at the status conference scheduled for June 14, 2024.

       D.    July 3, 2024 Report: The parties have no proposed agenda items or topics to discuss
             at the status conference scheduled for July 12, 2024.

       E.    August 2, 2024 Report: The parties have no proposed agenda items or topics to
             discuss at the status conference scheduled for August 9, 2024.

       F.    September 6, 2024 Report: Plaintiffs propose discussing the progress of discovery.
             Defendants believe the discovery process is working and there is nothing to discuss
             at the upcoming status conference.

       G.    October 4, 2024 Report: Plaintiffs propose discussing the parties’ respective
             special master proposals (Dkt. 987), as well as their forthcoming joint motion to
             extend the structured data production completion deadline. Defendants do not
             believe there is anything to discuss at the upcoming status conference; the parties’
             respective special master proposals and the parties’ forthcoming joint motion to
             extend the structured data completion deadline speak for themselves. If the Court
             would like to speak with the parties on these topics, Defendants respectfully submit
             that a telephonic conference would be appropriate and efficient.

       H.    November 1, 2024 Report: The parties have no proposed agenda items or
             topics to discuss at the status conference scheduled for November 8, 2024.




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        I hereby certify that on November 1, 2024, I caused the foregoing to be electronically filed

 with the Clerk of the Court using the CM/Dkt. system, which will send notification of such filing

 to the email addresses denoted on the Electronic Mail Notice List.



                                              /s/ Tricia R. Herzfeld
                                              Tricia R. Herzfeld




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